Kibler, Dottie
                                                                                                                                     1
From:                   Abraham Rubert-Schewel <schewel@tinfulton.com>
Sent:                   Monday, April 25, 2022 12:26 PM
To:                     Kibler, Dottie; Littlejohn Law PLLC; Emily Gladden; Ian Mance; elizabeth@emancipatenc.org
Cc:                     Svendsgaard, Lisabeth
Subject:                Re: Irving v. Raleigh, 22-CV-68 (NCED)

Follow Up Flag:         Follow up
Flag Status:            Flagged



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attachment and content are safe. If you believe this email is suspicious, please click the 'Phish Alert' link in the banner to report this
message.

Thanks Dottie,

Typically I would agree, but in this case without a commitment to revise the city’s warrant execution policies and to
provide at least some of the discovery we requested in our April 5 letter our clients are not interested in early
mediation.

If the city’s stance on this changes, we are always open to discussing settlement.

Best,


‐‐
Abraham Rubert-Schewel

Tin Fulton Walker & Owen, PLLC
www.tinfulton.com

(919) 451-9216 Tel

Durham Office
119 E. Main Street
Durham, NC 27701

Offices in Charlotte, Chapel Hill, Raleigh and Durham


From: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Date: Wednesday, April 20, 2022 at 4:23 PM
To: Abraham Rubert‐Schewel <schewel@tinfulton.com>, Littlejohn Law PLLC <mll@littlejohn‐law.com>, Emily
Gladden <egladden@tinfulton.com>, Ian Mance <ian@emancipatenc.org>, elizabeth@emancipatenc.org
<elizabeth@emancipatenc.org>
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: RE: Irving v. Raleigh, 22‐CV‐68 (NCED)

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                    Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 1 of 9
Abe: One of the benefits of mediation is that the parties have an opportunity to explore all issues of
concern to them. Your clients will have a chance to speak directly to the members of the City’s team
about issues that concern them. The City’s team has an opportunity to speak with your
clients. Neither your clients nor mine are required to resolve a case in mediation if settlement terms
aren’t acceptable. As we did in the Washington case, we’re willing to have those conversations at an
early voluntary mediation. Dottie


Dorothy V. Kibler
Deputy City Attorney
City of Raleigh
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From: Abraham Rubert‐Schewel <schewel@tinfulton.com>
Sent: Wednesday, April 20, 2022 3:59 PM
To: Kibler, Dottie <dorothy.kibler@raleighnc.gov>; Littlejohn Law PLLC <mll@littlejohn‐law.com>; Emily Gladden
<egladden@tinfulton.com>; Ian Mance <ian@emancipatenc.org>; elizabeth@emancipatenc.org
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: Re: Irving v. Raleigh, 22‐CV‐68 (NCED)

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attachment and content are safe. If you believe this email is suspicious, please click the 'Phish Alert' link in the banner to report this
message.

Dottie,

I am sorry that our earlier phone call resulted in a misunderstanding. But both Mr. Littlejohn and I recall us making clear
that any early mediation would require a discussion of the City’s warrant execution policy and the possibility of revisions
to that policy, not just an explanation of what happened here. We also informed you that we would need to consult our
clients before agreeing to any mediation.

Thank you for the offer to provide the policy and have command staff present, but our clients are not willing to proceed
with mediation at this point without the good faith possibility of the City reviewing and revising its warrant execution
policies. We discussed this again with them after your most recent communication and our clients expressed to us that
they want to ensure that the terror they experienced will not befall any other citizens of Raleigh.

If you have additional ideas or thoughts we are always happy to take them to our clients.

Respectfully,

‐‐
Abraham Rubert-Schewel

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                    Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 2 of 9
Durham Office
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Durham, NC 27701

Offices in Charlotte, Chapel Hill, Raleigh and Durham


From: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Date: Wednesday, April 20, 2022 at 2:29 PM
To: Abraham Rubert‐Schewel <schewel@tinfulton.com>, Littlejohn Law PLLC <mll@littlejohn‐law.com>, Emily
Gladden <egladden@tinfulton.com>, Ian Mance <ian@emancipatenc.org>, elizabeth@emancipatenc.org
<elizabeth@emancipatenc.org>
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: RE: Irving v. Raleigh, 22‐CV‐68 (NCED)

Abe: I wanted to be sure you saw that we:

         Offered a CPO to allow you to review RPD Departmental Operating Instruction 1109-06,
          Planned Raids and Searches, an RPD policy that isn’t public, and

         Indicated that a member of RPD’s command staff will attend mediation and that our mediation
          team would expect to talk with Plaintiffs about how the search warrant was carried out.

The letter you sent wasn’t consistent with our earlier discussions or with our offer. I wanted to be
sure that in dismissing the City’s early offer of mediation you were aware of the items that I’ve pointed
out above. If the Plaintiffs change their mind and are willing to engage in an early mediation, we
would welcome the opportunity to meet. Best regards, Dottie


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From: Abraham Rubert‐Schewel <schewel@tinfulton.com>
Sent: Wednesday, April 20, 2022 2:44 PM
To: Kibler, Dottie <dorothy.kibler@raleighnc.gov>; Littlejohn Law PLLC <mll@littlejohn‐law.com>; Emily Gladden
<egladden@tinfulton.com>; Ian Mance <ian@emancipatenc.org>; elizabeth@emancipatenc.org
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: Re: Irving v. Raleigh, 22‐CV‐68 (NCED)

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message.

Dottie,


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                    Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 3 of 9
See attached Plaintiffs’ response your email. As always, we are happy to chat if you’d like.

Best,

‐‐
Abraham Rubert-Schewel

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Offices in Charlotte, Chapel Hill, Raleigh and Durham


From: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Date: Tuesday, April 19, 2022 at 9:36 AM
To: Abraham Rubert‐Schewel <schewel@tinfulton.com>, Littlejohn Law PLLC <mll@littlejohn‐law.com>, Emily
Gladden <egladden@tinfulton.com>, Ian Mance <ian@emancipatenc.org>, elizabeth@emancipatenc.org
<elizabeth@emancipatenc.org>
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: RE: Irving v. Raleigh, 22‐CV‐68 (NCED)

Abe: After our phone call, I conferred with my client about the two issues you raised when we
spoke. A member of the RPD command staff will be a part of the City’s mediation team for our early
mediation and I understand that your clients will want to discuss how the search warrant was carried
out on May 21, 2020. We will be prepared to do that.

As I am sure you know from your prior work in the Washington case, the bulk of RPD’s policies are
available to the public through the City’s website. You indicated that you believed there were RPD
policies that are not public but that are relevant to how RPD carries out the service of a search
warrant. You are correct that RPD Departmental Operating Instruction 1109-06, Planned Raids and
Searches, is not public. My client will agree to release for attorneys’ eyes only, pursuant to a consent
protective order, the version of this DOI in place on May 21, 2020 and any version put into effect
thereafter up to the date of our early mediation.

Materials related to the search warrant, including bodyworn camera footage capturing the encounter,
have already been released to you under multiple orders entered by the Superior Court. While we
are certainly willing to talk with you and the mediator about the encounter and other issues relevant to
the Plaintiffs’ concerns, we are seeking an early mediation to explore the possibility of an early
resolution—thus focusing on your clients’ damages. While issues outside of damages will
unquestionably be the subject of debate if the case is not resolved at our early mediation, at this
point, the parties benefit from exploring settlement opportunities rather than commencing what is
essentially extensive discovery to the City.

It appears that Mr. Bell’s calendar is now booked for June. I propose that we schedule the mediation
for one of the open days in July (5, 8, 11-12, 28) that are acceptable to counsel for the parties, I will
                                                             4
                  Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 4 of 9
prepare a CPO allowing release for attorneys’ eyes only of DOI 1109-06, we will seek a joint stay and
I will draft that stay using the Washington case as a model but ensuring that ruling on the CPO is not
subject to the stay. If you will confirm today that this is acceptable to the Plaintiffs, I will have the draft
CPO and stay to you by the close of business tomorrow.

We are getting close to the responsive pleadings deadline for the defendants and I would like to have
the motions for the CPO and stay filed by Friday. Please let me know if this is agreeable to you and if
you will agree to extend the defendants’ deadlines for responsive pleadings until the Court’s ruling on
the stay if that is necessary. I look forward to seeing everyone at our mediation and, of course, am
willing to host the mediation here at the City’s offices. Best regards, Dottie


Dorothy V. Kibler
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Fax: 919.996.7021
Raleighnc.gov

From: Abraham Rubert‐Schewel <schewel@tinfulton.com>
Sent: Tuesday, April 5, 2022 10:11 AM
To: Kibler, Dottie <dorothy.kibler@raleighnc.gov>; Littlejohn Law PLLC <mll@littlejohn‐law.com>; Emily Gladden
<egladden@tinfulton.com>; Ian Mance <ian@emancipatenc.org>; elizabeth@emancipatenc.org
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: Re: Irving v. Raleigh, 22‐CV‐68 (NCED)

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attachment and content are safe. If you believe this email is suspicious, please click the 'Phish Alert' link in the banner to report this
message.

Dottie,

See attached Plaintiffs’ letter in response to the City’s proposal of early mediation. We look forward to discussing this
with you further and are available to chat at your convenience.

Best,

‐‐
Abraham Rubert-Schewel

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Durham, NC 27701

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                                                                     5
                    Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 5 of 9
From: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Date: Friday, March 4, 2022 at 9:46 AM
To: Abraham Rubert‐Schewel <schewel@tinfulton.com>, Littlejohn Law PLLC <mll@littlejohn‐law.com>, Emily
Gladden <egladden@tinfulton.com>, Ian Mance <ian@emancipatenc.org>
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: RE: Irving v. Raleigh, 22‐CV‐68 (NCED)

Thanks, Abe. That works for me and I look forward to speaking with you. Dottie


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Raleighnc.gov

From: Abraham Rubert‐Schewel <schewel@tinfulton.com>
Sent: Wednesday, March 2, 2022 5:57 PM
To: Kibler, Dottie <dorothy.kibler@raleighnc.gov>; Littlejohn Law PLLC <mll@littlejohn‐law.com>; Emily Gladden
<egladden@tinfulton.com>; Ian Mance <ian@emancipatenc.org>
Cc: Svendsgaard, Lisabeth <Lisabeth.Svendsgaard@raleighnc.gov>
Subject: Re: Irving v. Raleigh, 22‐CV‐68 (NCED)

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attachment and content are safe. If you believe this email is suspicious, please click the 'Phish Alert' link in the banner to report this
message.


Dottie,

We are available and happy to chat next Wednesday at 11 am. Please confirm that time works.

Here is dial in information:

1-888-585-3008
When prompted put in room number 230343310#

Best,

‐‐
Abraham Rubert-Schewel

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                    Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 6 of 9
    Dottie Kibbler
    Raleigh Deputy City Attorney
    dorothy.kibler@raleighnc.gov
    SERVED VIA EMAIL

    April 5, 2022

    Re: Irving, et al v. City of Raleigh, et al, 22-CV-0068, Potential Mediation and Request
    for Documents

    Dottie,

    Thank you for taking the time to contact us to propose pre-answer mediation. Plaintiffs are
    certainly interested in the possibility of an early resolution. However, in addition to monetary
    compensation, Plaintiffs are eager to see a change in the Raleigh Police Department’s
    (“RPD”) policies related to execution of search warrants. As laid out in our complaint,
    Plaintiffs believe that the RPD routinely violates the constitutional rights of citizens of
    Raleigh by knocking and immediately entering residences without reasonable suspicion or
    exigent circumstances that would justify immediate entry.1

    In an effort to resolve this matter through early mediation, Plaintiffs request that the City
    provide the following documents and policies to counsel 60 days prior to a scheduled
    mediation. These are all documents or policies that would be discoverable if this case
    proceeded. By agreeing to early mediation Plaintiffs are giving up their right to discovery and
    request the City provide these documents to allow for a more transparent review of RPD’s
    search warrant policies.

    Policies and Procedures
               • All current RPD policies or procedures related to application for and
                  execution of search warrants.
                      o All RPD training materials related to application for and execution of
                           search warrants.
               • All Selective Enforcement Unit policies and procedures.
               • All VICE Unit policies and procedures.
               • All RPD policies and procedures related to Payment of Confidential
                  Informants and Use of Informant Funds.
               • The Internal Affairs File (or any internal RPD investigatory file) related to
                  this incident, Officer Omar Abdullah and Dennis Williams.

    1
      The U.S. Supreme Court has adopted a “reasonableness” inquiry, deciding that although the
    standard generally requires the police to “announce their intent to search before entering
    closed premises, the obligation gives way when officers have a reasonable suspicion” that it
    would be “dangerous or futile” to knock and announce. United States v. Banks, 540 U.S. 31,
    36 (2003). In Banks, the Court held that it was reasonable to enter a home “15 to 20
    seconds” after knocking and announcing when officers suspected “imminent loss of
    evidence.” Id. Plaintiffs’ review of body camera of approximately five separate search
    warrant executions shows RPD SEU officers knocking while simultaneously entering
    residences.


Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 7 of 9
    RPD Data and Reports
            • All Incident Reports (required under DOI 1110-08 to be filled out after every
                search) related to searches of residences between January 1, 2020 and January
                1, 2021.
            • All Use of Force Reports (or reports documenting the use of force by an
                RPD officer, see DOI 1108) related to searches of residences between January
                1, 2020 and January 1, 2021.2
            • All Complaint of Injury Reports (DOI 1108-01) related to searches of
                residences between January 1, 2020 and January 1, 2021.
            • All Employee Accident/Exposure Injury Reports (DOI 1106-08 attachment
                D) or any other report documenting RPD officer injuries related to searches
                of residences between January 1, 2020 and January 1, 2021.
            • Body Worn Camera footage of all incidents involving use of force or an
                injury to an officer or citizen, related to searches of residences, between
                January 1, 2020 and January 1, 2021.

    We look forward to your response to this letter and are happy to discuss these issues in
    greater detail on a call if preferable.


           Respectfully,




    2
     See 1108-08, a Use of Force Report is required to be completed “when a firearm is
    discharged or pointed at a suspect.”
                                                                                               2
Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 8 of 9
    Dottie Kibbler
    Raleigh Deputy City Attorney
    dorothy.kibler@raleighnc.gov
    SERVED VIA EMAIL

    April 20, 2022

    Re: Irving, et al v. City of Raleigh, et al, 22-CV-0068, Reply to City Email Related to
    Potential Mediation

    Dottie,

    Thank you for your email of April 19, 2022. On April 5, 2022, Plaintiffs provided the City of
    Raleigh (the “City”) with a letter1 stating that in addition to monetary compensation,
    Plaintiffs were eager to see changes made to the Raleigh Police Department’s (“RPD”)
    policies related to execution of search warrants. Plaintiffs sought RPD policies and
    documents 60 days in advance of any mediation “to allow for a more transparent review of
    RPD’s search warrant policies.”

    In your email of April 19, you state that the proposed mediation would only seek to resolve
    Plaintiffs’ damages. We have discussed the City’s stance towards mediation with our clients,
    and Plaintiffs are not interested in proceeding with an early mediation that will not resolve
    their concerns related to RPD’s warrant execution policies. Plaintiffs are willing to discuss
    the City’s concerns about extensive pre-answer discovery, but will not engage in early
    mediation without the possibility of change to the City’s warrant execution policies.

    We are happy to continue this discussion with Defendants in an effort to resolve this matter
    in a mutually beneficial way to all parties.

              Respectfully,




                                Emily Gladden
                                Micheal Littlejohn
                                Elizabeth Simpson
                                Ian Mance
                                Counsel for all Plaintiffs




   1 The April 5, 2022, letter was titled “Potential Mediation and Request for Documents.”



Case 5:22-cv-00068-BO Document 39-1 Filed 05/03/22 Page 9 of 9
